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             IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,       )
                                )
                Petitioner      )
                                )   MC No. 06-10427
         -VS-                   )   MC No. 06-10449
                                )   MC No. 06-10439
JEFFREY SHIELDS, CHARLES PEAVY, )   Pages 1 - 61
JOEL WETMORE,                   )
                                )
                Respondents     )




                       MOTION HEARING

             BEFORE THE HONORABLE PATTI B. SARIS
                 UNITED STATES DISTRICT JUDGE




                             United States District Court
                             1 Courthouse Way, Courtroom 19
                             Boston, Massachusetts 02210
                             September 17, 2007, 3:15 p.m.




                       LEE A. MARZILLI
                   OFFICIAL COURT REPORTER
                 United States District Court
                 1 Courthouse Way, Room 3205
                      Boston, MA 02210
                        (617)345-6787




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 1
     A P P E A R A N C E S:
 2
          MARK T. QUINLIVAN, ESQ., Assistant United States
 3   Attorney, Office of the United States Attorney,
     1 Courthouse Way, Boston, Massachusetts, 02210,
 4   for the Petitioner.
 5        PAGE KELLEY, ESQ., JUDITH H. MIZNER, ESQ., and
     WILLIAM FICK, ESQ., Federal Defender Office,
 6   408 Atlantic Avenue, Boston, Massachusetts, 02210,
     for the Respondents.
 7
     ALSO PRESENT:
 8
          HELEN H. HONG, ESQ., Department of Justice, Civil
 9   Division, Washington, D.C.
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 1                      P R O C E E D I N G S
 2              THE CLERK:     The case of the United States V.
 3   Jeffrey Shields, Miscellaneous Case No. 06-10427, United
 4   States V. Charles Peavy, Miscellaneous Action No. 06-10449,
 5   and United States J. Joel Wetmore, Miscellaneous
 6   No. 06-10439, will now be heard before this Court.              Will
 7   counsel please identify themselves for the record.
 8              MR. QUINLIVAN:      Good afternoon, your Honor.              Mark
 9   Quinlivan for the United States.        With me at counsel table
10   is Helen Hong from the Civil Division of the U.S. Department
11   of Justice.
12              THE COURT:     Welcome.
13              MS. MIZNER:      Judith Mizner appearing for all of
14   the respondents, along with William Fick and Page Kelley who
15   are actually representing the three respondents.
16              THE COURT:     Okay, great.      Have you set up a
17   schedule between you?     I sort of assume that it's your
18   motion, so --
19              MS. MIZNER:      Thank you, your Honor.        First, I
20   would like to provide --
21              THE COURT:     Actually, what is this formally?               It's
22   a motion to --
23              MS. MIZNER:      This is a motion to dismiss --
24              THE COURT:     To dismiss.
25              MS. MIZNER:      -- challenging the civil commitment



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 1   statute on its face.        And I would like to provide the Court
 2   with copies of two opinions.        One is an opinion issued by
 3   Judge Tauro, and the other is an opinion from the Eastern
 4   District of North Carolina by Judge Britt, both of which
 5   address the same issues.
 6                 THE COURT:     Thank you for those copies.          I have
 7   read them.     I just saw them this morning, so I don't pretend
 8   to be expert on --
 9                 MS. MIZNER:     In an excess of caution, your Honor.
10                 THE COURT:     Especially on the North Carolina one,
11   it's very lengthy, and I've just had a chance just to skim
12   it, but you can assume I've at least got the highlights for
13   both of those opinions.
14                 MS. MIZNER:     Thank you.    This is a motion to
15   dismiss challenging the constitutionality of the Jimmy Ryce
16   Civil Commitment Program, which is part of the Adam Walsh
17   Act.   The statute, which is codified in the Criminal Code at
18   18 U.S.C. Sections 4247 and 4248, provides for the
19   open-ended potentially lifetime commitment of certain
20   classes of persons on a finding by a judge based on clear
21   and convincing evidence that they are sexually dangerous
22   persons.     And if the statistics from states with civil
23   commitments for sexually dangerous persons is any
24   indication, fewer than 10 percent of those committed have
25   been discharged from custody to date.



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 1               Now, there are three classes of persons covered by
 2   the federal statute:     those in the custody of the Bureau of
 3   Prisons; persons committed to the custody of the Attorney
 4   General pursuant to 4241(d), which addresses incompetent
 5   criminal defendants; and persons as to whom criminal charges
 6   have been dismissed solely for reasons relating to mental
 7   conditions.   It is not limited to persons who are in custody
 8   for sex crimes or to persons who have been convicted for sex
 9   offenses.
10               The definition of sexually dangerous person is
11   "Engaged or attempted to engage in sexually violent conduct
12   or child molestation and who is sexually dangerous to
13   others."
14               "Sexually dangerous to others" is defined as, "The
15   person suffers from serious mental illness, abnormality, or
16   disorder, as a result of which he would have serious
17   difficulty in refraining from sexually violent conduct or
18   child molestation, if released."        There is no further
19   definition in the statute of those terms.
20               The Bureau of Prisons in December issued a
21   memorandum with interim definitions, and those have
22   subsequently been set out in the Federal Register.              The
23   citation alludes me, but it is the same definition, and we
24   can provide that citation to the Court, but it in essence
25   defines sexually violent conduct as including "engaging in



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 1   any conduct of a sexual nature with another person with
 2   knowledge of having tested positive for the human
 3   immunodeficiency virus, or other potentially
 4   life-threatening sexually transmissible disease, without the
 5   informed consent of the other person to be potentially
 6   exposed to that sexually transmissible disease."            So it
 7   certainly encompasses conduct that exceeds what you would
 8   normally view as violent.
 9              THE COURT:     So that's -- maybe I read it too
10   quickly.   Is that cite in your brief?
11              MS. MIZNER:      No, it's not.      I will provide it to
12   your Clerk.
13              THE COURT:     If you could.      Do the regulations
14   address other things like the procedures to be followed and
15   the timing of these certifications?
16              MS. MIZNER:      Yes, those are -- the Federal
17   Register has a -- there's a proposed rule in the Federal
18   Register that addresses --
19              THE COURT:     Which provides what?
20              MS. MIZNER:      Well, some of the procedures are set
21   out in the statute.
22              THE COURT:     Right, but let me just -- I understand
23   your really, an excellent brief on everyone's part, broad-
24   brush attack on so many fronts.        To the extent, though, that
25   there's a procedural due process challenge, and a sort of



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 1   one of the more typical -- not typical but easier conceptual
 2   ones is the lack of a hearing before you're actually held,
 3   is there a regulation that actually addresses that?
 4               MS. MIZNER:     I do not believe there is.            The
 5   statute does not provide for any particular -- does not
 6   provide -- it provides for a time frame of --
 7               THE COURT:     Does it fill in the gaps; in other
 8   words, that you have to have a hearing by a neutral
 9   decision-maker before you're actually held past your prison
10   date?
11               MS. MIZNER:     No.    No, to my knowledge, the
12   regulation does not provide those kinds of gaps, and those
13   addressing that issue, those are the --
14               THE COURT:     You know, I'll let them address.                I
15   don't want to hold up your argument.
16               MS. MIZNER:     That's okay, that's part of the
17   argument.
18               THE COURT:     So once you were in the register, I
19   hadn't known that the Department of Justice had actually
20   issued any proposed regulations.
21               MS. MIZNER:     It's 72 Federal Register --
22               THE COURT:     I'll find it.
23               MS. MIZNER:     I have it somewhere.
24               THE COURT:     Okay.
25               MS. MIZNER:     But the procedures in the statute



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 1   provide for certification which then stays the release of
 2   the person.    It is then sent to -- the certification is sent
 3   to the court in the district of confinement, which is why
 4   we're here.    The clerk is to send notice to the person and
 5   the attorney for the government, and the court orders a
 6   hearing.   Prior to any hearing, the courts may order a
 7   psychiatric or psychological examination and the filing of a
 8   report.    And the examination is defined in 4247(b) as being
 9   done by a licensed or certified psychiatrist or psychologist
10   or more than one with the defendant able to select an
11   additional examiner.
12                THE COURT:    Can you tell me a little bit about the
13   three men who are in front of me now?          Were they actually
14   certified before the end of their prison sentence?
15                MS. MIZNER:    Yes, but very close -- I'll let
16   Mr. Fick and Ms. Kelley address that.
17                THE COURT:    Can I just find out what happened in
18   real life.
19                MR. FICK:    At my fingertips, I don't have the
20   exact dates.   In Mr. Peavy's case, though, it was a matter
21   of days or weeks, I believe, before his release date.                 I
22   want to say his release date was in October or November of
23   '06, and the docket would reflect the day the paper hit the
24   court.
25                THE COURT:    And have you -- just I noticed one of



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 1   the judges in addressing one of these kind of cases,
 2   actually while probing the very, very difficult
 3   constitutional issues, made sure that there was at least
 4   probable cause with respect to the people in front of him,
 5   and there was a little bit of a back-and-forth in footnotes
 6   about whether or not that had been waived or not with
 7   respect to each individual defendant.          So assume for a
 8   minute that you're one of these people, would you want any
 9   kind of a probable cause hearing while I'm working through
10   the constitutional issues?
11               MR. FICK:     Potentially I think, your Honor, the
12   answer would be "yes."      What we had agreed to the government
13   in initial discussions --
14               THE COURT:     I'm sorry to jump in here, but --
15               MS. MIZNER:     No, that's fine.
16               MR. FICK:     We had talked about how we would not
17   argue to the Court that because of -- we would not argue
18   that there was something unconstitutional in the delay
19   required to adjudicate the motion to dismiss.             However, our
20   understanding was that that would not in any way waive the
21   argument, which is part of the motion in fact, that there
22   ought to be a probable cause hearing, and the lack of a
23   probable cause provision in the statute is one of the
24   constitutional defects of the statute.           And to the extent
25   the Court were inclined to ingraft onto the statute a



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 1   probable cause requirement, I think we would certainly want
 2   to reserve the option of going forward with that for each of
 3   the clients, depending on the specific circumstances.                  We'd
 4   have to think about that strategically for each one, I
 5   think.
 6               THE COURT:     All right.     Well, the reason I say
 7   that is, apparently the case was argued in North Carolina
 8   last May -- I was looking -- and I don't know how quickly
 9   Judge Tauro must have turned the thing around.            I think you
10   all really did -- I have to congratulate you -- a fabulous
11   briefing, but it took a very long time, and then it made no
12   sense at that point to start with the old clerks and move to
13   the new clerks.    But that having been said, it could take
14   another month or two anyway to write some sort of opinion,
15   and your people are just sitting in jail, so what is your
16   view on all that on the probable cause determination?
17               MR. QUINLIVAN:      Thank you, your Honor.         May it
18   please the Court, we are not opposed to that.            In fact, it
19   was my understanding when the schedule was initially set
20   that the respondents were disavowing any sort of hearing
21   until the constitutional questions were adjudicated, but
22   it's always been our position that we are not opposed and
23   we're ready to go forward with a hearing.
24               THE COURT:     But I'm not talking about the big mega
25   hearing.   I noticed the softest piece of your brief is sort



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 1   of, "Let's work out the procedural piece as we go."                  And you
 2   did not flat out say that there shouldn't be some sort of a
 3   probable cause hearing on the lines of -- a bad analogy but
 4   a probation revocation, at least something, some neutral
 5   person other than somebody at BOP saying that this person
 6   should be held.     And I think, at a bare minimum, I would
 7   like to, without waiving any rights on their part, give
 8   these gentlemen, who have been sitting in jail for a while,
 9   right, just while this thing has been briefed, this very
10   important set of constitutional issues, the right to do
11   that, without waiving any rights that somehow that that
12   obviates a facial challenge to the procedures or the other
13   constitutional kinds of issues.         So do we all agree?            That's
14   sort of one key thing I wanted to accomplish here today
15   because it's been a longish period of time for the briefing.
16                 MR. QUINLIVAN:     That's agreeable to the
17   government.
18                 THE COURT:    Is that agreeable to everyone here
19   that you'll go back and discuss with your clients whether or
20   not you want such a probable cause hearing?
21                 MS. KELLEY:    Yes.   And if I may just briefly say,
22   I have another client before Judge Tauro, but all of my
23   clients were certified either on the day of their release or
24   within days of their release dates.          Mr. Wetmore to my left
25   and Mr. Shields to my right were both at halfway houses very



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 1   assiduously following the rules there, lining up apartments
 2   and jobs and treatment programs for when they were to be
 3   released, and they were just arrested out of the blue from
 4   the halfway houses and taken to Fort Devens.
 5               THE COURT:     Taken where to Fort Devens?
 6               MS. KELLEY:     They are incarcerated at the prison
 7   at Fort Devens.
 8               THE COURT:     In a treatment center or at the farm?
 9               MS. KELLEY:     There is no treatment center there.
10   There is what they call a sex offender management program,
11   which is, I think, a very optimistic title, that I don't
12   think there's any treatment component whatsoever.              It's
13   just, I think, really for people who are there --
14               THE COURT:     So they're not seeing psychiatrists or
15   whatever?
16               MS. KELLEY:     No, and I think they're just
17   stigmatized by being labeled under the rubric of that
18   program.
19               THE COURT:     Sure, I will get back to the broad
20   facial, but your representation is that none of the three
21   men in front of me now are receiving any treatment?
22               MS. KELLEY:     Well, that's correct, although
23   another problem -- the probable cause hearing question
24   becomes very complicated because to certify these men, the
25   government used for two of my three clients their treatment



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 1   records as a basis for their certification, which we would
 2   be challenging.     We'll be challenging the use of those
 3   records.
 4               THE COURT:      Your two people were in for some sort
 5   of sex offense?
 6               MS. KELLEY:      Yes, child pornography.
 7               THE COURT:      The possession or receipt?
 8               MS. KELLEY:      Yes.
 9               THE COURT:      Not touching?
10               MS. KELLEY:      Right.
11               THE COURT:      And what about, is there anyone here
12   who was brought in purely on a like a drug case or an
13   immigration case or some sort of other non-sex kind of --
14               MR. FICK:     Mr. Peavy, the actual charge for which
15   he pled was a simple assault, for which he received a
16   six-month sentence.      The simple assault was on a nurse in a
17   psychiatric facility, and there is sort of a history of
18   other types in his criminal history, but the actual instant
19   charge for which he was in BOP custody was a six-month
20   simple assault.
21               THE COURT:      Sure, but I guess, of course, if he
22   goes in a treatment facility, he's actually sort of in his
23   own category at this point, right, because he's got a mental
24   illness?
25               MR. FICK:     Well, there are certainly some



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 1   disabilities, I would put it, yes.             And so while he's
 2   receiving treatment, I think, ongoing for just the
 3   consequences of his stroke and other issues that he has,
 4   there's no sort of sexually dangerous person type treatment
 5   going on at Devens that I'm aware of, and in fact that would
 6   be problematic while the petition is still pending because
 7   there's the issue of --
 8                  THE COURT:      A, it's not being offered, but, B,
 9   you're not seeking it?
10                  MS. KELLEY:      Well, we would definitely be seeking
11   it.     The problem is, it's just a form of suicide, and in
12   fact --
13                  THE COURT:      I understand that.       Given the
14   procedural posture of where we are right now, A, it's not
15   been offered, but, B, you don't want it for right now.                       Does
16   everyone agree that that's the record?              Is it correct that
17   Devens hasn't been offering it, from the government's point
18   of view?
19                  MR. QUINLIVAN:       Your Honor, I'm not familiar with
20   the specific treatment plans of these three individuals,
21   so --
22                  THE COURT:      Well, as you stand here -- this is
23   something Justice Breyer thought a lot about -- as you stand
24   here, are there treatment facilities that are available?
25                  MR. QUINLIVAN:       There are treatment facilities



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 1   that are available.      I do not know whether any of the three
 2   respondents in this case have either availed themselves or
 3   if they have been put in any of those treatment programs.                       I
 4   can't -- I don't know the particulars of these three cases,
 5   what treatment they may have had.
 6               THE COURT:      Let me ask more broadly:         Is there
 7   anyone in the United States of America who's been certified
 8   under this new Act who has been offered treatment?
 9               MS. MIZNER:      I'm not aware of any.
10               MR. QUINLIVAN:       Your Honor, I can answer this.
11   Actually there are 53 pending.         Actually, no one has been in
12   fact certified to date, whether in this district or in North
13   Carolina.
14               THE COURT:      All right, we'll get back to that.
15   Let's go back to the facial, but I think let's do this.
16   Within, what do you want, 30 days?          Or within no later than
17   30 days, you'll let me know, all of you, what you want me to
18   do with respect to a probable cause finding with your
19   clients.
20               MS. KELLEY:      Yes.
21               MR. FICK:     Yes, your Honor.
22               MS. KELLEY:      Thank you.
23               THE COURT:      And that will be without prejudice to
24   any constitutional issues.
25               The other issue you maybe want to talk about is,



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 1   if they're there, if there's any kind of treatment that they
 2   would want of some sort without waiving rights.              I don't
 3   know if that's even feasible, okay, so think about that.
 4               MR. FICK:     The issue there becomes quite simply,
 5   your Honor, whether they have a Fifth Amendment right to
 6   anything that might happen in that treatment.
 7               THE COURT:      Right, it would have to be like in a
 8   presentence report where the stuff couldn't be used against
 9   you in this proceeding.       I agree.
10               All right, back to you.         Sorry.    That was the one
11   piece of housekeeping I wanted to deal with are these three
12   people in front of me while this issues get litigated, I'm
13   assuming not just here but on an appellate level, will take
14   quite a while.
15               MS. MIZNER:      It's an important issue.
16               THE COURT:      Yes.
17               MS. MIZNER:      Going back to the statute, it allows
18   for the commitment for up to 45 days for the examination
19   with and a possible extension for another 30 days.                 So under
20   the statute, you can have 75 days before there is any kind
21   of judicial hearing.
22               The report --
23               THE COURT:      But let me just ask you point-blank.
24   So if in fact, as you said, I put the judicial gloss on it,
25   you've got to have a neutral fact-finder as in the probation



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 1   revocation cases, does that solve the problem?            That solves
 2   that problem, right?
 3               MS. MIZNER:     If you have a probable cause hearing,
 4   yes.
 5               THE COURT:     Before a neutral magistrate or judge.
 6               MS. MIZNER:     Yes, absolutely.       And there are cases
 7   that have addressed the time frame for probable cause
 8   hearings, 72 hours, 10 days, 15 days.          Judge Selya when he
 9   was a District Court judge in Rhode Island addressed the
10   Rhode Island statute for a commitment of alcoholics and did
11   a fairly inclusive discussion of different time frames, and
12   the case there was Donahue V. Rhode Island.            It's not cited
13   in the brief.    It is 632 F. Supp., 1456.
14               THE COURT:     That must be an old case.
15               MS. MIZNER:     It is.    And the statute provided for
16   a hearing after 10 days, and he said that after doing very
17   careful analysis of all of the pros and cons and the
18   purposes of that particular statute and the protections of
19   that statute, concluded that the 10 days was not too long.
20               THE COURT:     So what's your position as far as --
21   let's suppose I agreed with you and you needed a neutral
22   decision-maker.    Of all the things they were vehemently
23   opposing, that wasn't a piece of the brief that they were so
24   vehement on, other than to say, well, we couldn't do it
25   anyway.   Do you think I have the judicial power to simply



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 1   say a neutral decision-maker must decide within 10 days of
 2   the end of the sentence, or within three days of the end of
 3   the sentence, or whatever the number seems to make sense?
 4                MS. MIZNER:     I think it would stem from the time
 5   that the certification is filed.          And isn't it somewhat
 6   similar to a detention hearing?         There is 72 hours.
 7                THE COURT:     Your position is, I have the right to
 8   just do that, or it invalidates the whole statute?
 9                MS. MIZNER:     Well, I think that the statute is
10   deficient because it does not provide for that.              I don't
11   know whether the government's position is that you do not --
12   the statute doesn't provide for it.          I believe that the
13   courts could, as a matter of providing due process, provide
14   a hearing.
15                THE COURT:     We were looking to see if there were
16   severability clauses, or what do you do if you find one
17   piece is and one piece isn't?         You say there's case law out
18   there that simply allows me to just say it must be found or
19   it's unconstitutional on a set of facial matters?
20                MS. MIZNER:     Well, the question of -- we believe
21   that Comstock is a good example of a case in which the Court
22   addressed a facial challenge to certain issues.              The
23   challenge to the -- saying that the statute is outside is
24   not supported, that Congress did not have the authority to
25   pass that statute.      Even if you adopt, as Judge Tauro did,



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 1   the analysis in Salerno that says a facial challenge -- to
 2   prevail in a facial challenge, you must show that the
 3   statute cannot be constitutionally applied to anybody.
 4               Now, the Supreme Court has subsequently said that
 5   that is not the only test, and that that is perhaps not the
 6   best test for all circumstances, and in fact they have not
 7   applied it in other instances.         But in Comstock, what the
 8   Court said was that when you're talking about this kind of
 9   challenge to Congress's authority to promulgate the statute,
10   that does apply to everybody.         If Congress didn't have the
11   authority to pass the statute, it shouldn't apply to
12   anybody, and therefore you can have a facial challenge.
13   Similarly with due process issues, if the statute does not
14   provide adequate due process protections, then that applies
15   to everybody across the board.
16               THE COURT:      I'm just simply saying that the court
17   in North Carolina felt that the statute was invalid because
18   Congress didn't have the authority in the necessary and
19   proper clause.     If we went that way, then you invalidate the
20   whole statute.
21               MS. MIZNER:      Yes.
22               THE COURT:      But suppose you don't go that way, as
23   Judge Tauro didn't, and the government is urging me not to,
24   but suppose I find, though, that some of the procedural
25   protections like the one we just discussed weren't adequate,



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 1   the remedy from your point of view would be what, to order
 2   them to do it?
 3               MS. MIZNER:      No.     I believe you would have to
 4   declare the statute unconstitutional because the statute
 5   does not provide for something that the Constitution
 6   requires.   And it's not just the probable cause hearing.                     We
 7   also have due process challenges to the standard of proof
 8   that is employed.
 9               THE COURT:      Right.     So suppose you won that, you
10   have to prove the past conduct by reasonable doubt.                  Let's
11   suppose you won those two, which are stronger arguments
12   here.   It's not eviscerating the entire notion that the BOP
13   can act or that Congress can act, but still it says you need
14   to have a higher procedural level of protection, substantive
15   protections.     So would it be your position that if I took
16   that position, let's say on those two points, better
17   hearings, higher standard of proof, let's say I were to take
18   that, you would say I have to invalidate the whole statute
19   and Congress has to do it again?          Or do I just simply say,
20   prove it beyond a reasonable doubt, give them a hearing
21   before they hold them on sentence?          That's what I've sort of
22   been struggling with in my mind is, if you don't win on the
23   big knock-dead punch the way you did in North Carolina,
24   what's the next step here?         And I'm going to be asking you
25   this too.



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 1               MS. MIZNER:     Well, I don't believe that there is a
 2   severability clause in the statute, so in the absence of
 3   that, I think the Court would have to declare it
 4   unconstitutional and let Congress decide what it wishes to
 5   do in terms of a remedy.
 6               THE COURT:     Okay, thank you.       If you found any
 7   case law on that, that would be useful, like another statute
 8   where the court felt that Congress had the underlying
 9   authority to do something but felt that the procedural
10   protection wasn't high enough, for example, or timely
11   enough.   Anyway, go ahead.      So unnecessary and proper, you
12   think Congress doesn't have the authority at all?
13               MS. MIZNER:     That's correct.
14               THE COURT:     Did you see that comment by
15   Justice Stevens, by the way, who by some concurrence or
16   dissent, he essentially said, no, I'm not willing to go as
17   far as the dissent, and the reason is because, aren't there
18   some people who are just so dangerous that once you have
19   them in your custody, it's almost impossible to say that
20   society can't protect themselves and hold them?
21               MS. MIZNER:     Well, but the question is whether
22   this statute is the appropriate way to address that.                 And if
23   you look at the breadth of this statute, I think the answer
24   is clearly "no."     It does not require -- there is no link to
25   federal crimes here.      Our federal government is one of



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 1   limited jurisdiction, and --
 2               THE COURT:     No, but let me just -- the tough case
 3   I was thinking about at home this weekend is -- and I'm not
 4   saying this applies to any of you gentlemen -- but you had
 5   someone in jail for drugs, cocaine, totally unrelated, and
 6   yet you know from his presentence report that he's molested
 7   three little girls and has confided in both Probation and
 8   people in the jail, you know, "I can't hold myself back.                    I
 9   know as soon as I get out I'm going to rape someone else."
10   So you would say that Congress has no role there?              I guess
11   that's the ultimate bottom line for your opinion?
12               MS. MIZNER:     Yes.    This is not a question that's
13   appropriately a matter of straight federal jurisdiction.
14   And even under that parade of horribles, the fact that
15   something's --
16               THE COURT:     I understand that's an extreme case.
17               MS. MIZNER:     But even under that extreme case, the
18   fact that something is in a presentence report, or that
19   someone says they're going to do something, doesn't
20   necessarily mean that it's going to happen.            That might
21   perhaps provide the basis for some kind of surveillance of
22   that individual or some kind of monitoring.            Presumably
23   they're going to be on, on your hypothetical, probably on
24   supervised release.     So it would perhaps provide for some
25   enhanced monitoring during that time period, but it would



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 1   not necessarily provide for a statute of this stunning
 2   breadth that Congress has passed.
 3                 THE COURT:    It's interesting because
 4   Justice Stevens obviously was not referring at that time to
 5   a pedophile.     I think he was referring to a crazy killer
 6   type, but, still, it is something that's sort of your
 7   inherent instinct to say, if you have someone that bad in
 8   your custody and you know they're going to do something, you
 9   know, you would say there's no power from the federal
10   government?
11                 MS. MIZNER:    I would say that is not -- our
12   society does not work on a "lock them up first and do it
13   later."
14                 THE COURT:    You know, I was reading over the
15   weekend all these civil commitment cases from the Supreme
16   Court, one after another after another, and they all say you
17   can do that.
18                 MS. MIZNER:    They say -- they approve the states,
19   most of these civil --
20                 THE COURT:    Right.
21                 MS. MIZNER:    And that's precisely one of the
22   points here is that this is a function for state government.
23   It is the state that is designed to and supposed to address
24   these issues, not the federal government.            And in fact this
25   statute provides for the Attorney General to attempt to pawn



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 1   off --
 2               THE COURT:     To hand them off, right.
 3               MS. MIZNER:     -- to attempt to pawn them off on the
 4   states.
 5               THE COURT:     But isn't that the right answer under
 6   your theory is, you don't let them on street because you
 7   know they might do something, but then you try under the
 8   federal system provide that the state take them?
 9               MS. MIZNER:     Then perhaps you provide notice to
10   the state and allow the state to engage in whatever process
11   it deems fair and appropriate.
12               THE COURT:     Oh, I see, so your view would be a
13   handoff to the state, for them to do the civil commitment?
14               MS. MIZNER:     Yes, if there is to be a civil
15   commitment, it should be done by the state.            And most of the
16   states that have civil commitment statutes provide for
17   greater protections than are provided for in this statute.
18               THE COURT:     Yes, but suppose you were to say that.
19   Suppose you say, yeah, you're right, there's no prior
20   conviction here for anything, maybe just an allegation by
21   some jailhouse stooly who says something.           So then you up
22   the ante, and that's what I'll ask them, why shouldn't it be
23   proof beyond a reasonable doubt?         But suppose you get the
24   highest levels of proof that you can imagine and the
25   government can meet it, you would still say that Congress



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 1   can't do it?
 2               MS. MIZNER:     Unless it's linked to a federal
 3   crime, which it is not, just as in Greenwood, the Supreme
 4   Court upheld the federal civil commitment statute where you
 5   had someone who was committed after having been indicted,
 6   but they were incompetent to stand trial, and you could --
 7   the court said that it was permissible for a civil
 8   commitment for that purpose because the federal government
 9   had an interest in prosecuting that person at the end of the
10   line, however long that line may be.          But we don't have that
11   here.   This statute is not linked to any federal offense.
12               THE COURT:     But wouldn't it be likely that
13   somebody who is a repeat pedophile would be more likely to
14   look at child pornography or try and solicit someone online?
15               MS. MIZNER:     But looking at child pornography is
16   not the kind of touching that --
17               THE COURT:     But it's a federal crime.
18               MS. MIZNER:     -- that is defined in this commitment
19   statute.
20               THE COURT:     Okay, so where necessary and proper,
21   and you say under no circumstances can the federal
22   government do it.     And then if you don't win that one,
23   you're onto it's not civil, it's criminal.           I'm not sure you
24   have to go that far because even in the civil context
25   sometimes, you have to have a higher standard of proof.



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 1               MS. MIZNER:      Right, and so --
 2               THE COURT:      So the question is, everybody at this
 3   point has sort of taken Congress at its word it's civil, but
 4   suppose it should be proof beyond a reasonable doubt for the
 5   predicate offense, if there's no prior conviction for sex
 6   crimes, the question that I have is, does that have to be
 7   before a jury if it's a civil proceeding?
 8               MS. MIZNER:      Well, again, I'm not sure that the
 9   Constitution requires it.
10               THE COURT:      Excuse me?
11               MS. MIZNER:      Some states have required a trial by
12   jury, and perhaps this is close enough to a criminal
13   proceeding, where you're talking about the consequences of
14   up to lifetime commitment, that a jury should be required,
15   just as you would have the increased protection of, be it
16   proof beyond a reasonable doubt, even though it's civil,
17   that this would be an appropriate case to impose a jury
18   trial requirement.
19               THE COURT:      So in the juvenile proceedings -- I
20   can't remember -- that was still a judge decision beyond a
21   reasonable doubt, right?       It didn't need to go to a jury?
22               MS. MIZNER:      Correct, although --
23               THE COURT:      It may technically be civil but --
24               MS. MIZNER:      Although some -- a number of states
25   do provide for jury trials.



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 1               THE COURT:     Sure.    I think Massachusetts does.
 2               MS. MIZNER:     And that's one of the reasons why
 3   this should be left to the states which have these developed
 4   procedures.
 5               THE COURT:     Okay.    Is there anything -- you can
 6   tell I've read the papers, so I'm jumping around where I was
 7   interested.
 8               MS. MIZNER:     Yes.    Well, that's fine.       It's always
 9   good to know what the Court is interested in.
10               THE COURT:     Well, let me ask you this.
11   Justice Breyer made a big deal, speaking on a five-four, on
12   whether or not there's treatment being an important part of
13   this.
14               MS. MIZNER:     And I think from the statute itself,
15   in which the Attorney General is to make efforts to pawn
16   these people off, I don't think treatment is a big part of
17   the government's program here.
18               THE COURT:     So I know it's a facial challenge, and
19   we don't really have a record, but as far as you know, there
20   is no treatment?
21               MS. MIZNER:     I'm not aware of any treatment that
22   has been -- as the government said, no one has been
23   certified yet, so it's --
24               THE COURT:     I think in one of these opinions there
25   was criticism of the government that they knew about these



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 1   people all along, and yet there was no treatment provided
 2   during the course of the incarceration for the underlying
 3   offense.
 4                MS. MIZNER:    I believe that there was -- treatment
 5   has been provided in the past at Butner.           There was a
 6   treatment program in Butner, but I believe that's been
 7   closed and moved somewhere else now.
 8                THE COURT:    Okay.
 9                MS. MIZNER:    And there was a management program at
10   Devens, which, as I understand it, did not provide a great
11   deal of treatment.
12                THE COURT:    Okay, so it's just a little -- you
13   don't want me to get into that record.          I should assume that
14   we know nothing about treatment.         Is that true?
15                MS. MIZNER:    It's fair to say I know nothing about
16   treatment.
17                THE COURT:    No, I mean treatment about what's
18   provided and what's not.       You're not making any proffers on
19   that point?
20                MS. MIZNER:    We're not making any proffers on what
21   treatment has been provided.
22                THE COURT:    Okay, well, thank you.        I'll give you
23   a chance to respond.
24                MR. QUINLIVAN:     Thank you, your Honor.         If I could
25   begin as my point of departure with actually the very first



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 1   line that my sister said because this is a facial challenge,
 2   and I think that the Salerno "no set of circumstances" test
 3   really informs all of this Court's analysis with respect to
 4   the differing constitutional standards.           And I'll go
 5   through --
 6                THE COURT:    Yes, but here's my concern about on
 7   the procedural due process thing, which I thought would be
 8   the easiest.    Watch, no one will think any of it's easy.                  I
 9   don't see how you can justify for a guy who's never been
10   convicted of a sex offense -- take that as the cohort of
11   people -- saying, just because the Bureau of Prisons says
12   that there's some evidence that he meets that definition,
13   that he can hold him without a neutral person for 75 days?
14   That's what it sounds like.
15                MR. QUINLIVAN:     Well, I think, and again I'm going
16   back to the facial challenge now, I would say that it is
17   clear that one can envision, as Judge Tauro noted, any
18   number of situations in which a hearing could be held almost
19   immediately or very soon after the certification.
20                THE COURT:    But by statute -- I mean, I
21   understand, I'm always confused a little bit about this
22   facial challenge and when you can do it and when you can't.
23   Let's suppose I say facially that does not provide for
24   procedural due process, going from Goldberg V. Kelly all the
25   way up to the present, what is the remedy?



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 1                MR. QUINLIVAN:      Well, I think the remedy is that,
 2   you know, most statutes, they are presumed to be severable,
 3   and so to the extent -- we don't think that a probable cause
 4   engrafting onto the statute, that that is constitutionally
 5   necessary.    But if this Court were to decide -- and I
 6   believe that when we had the first hearing in front of your
 7   Honor we provided you with -- it was an unpublished decision
 8   from the Central District of California, but the judge in
 9   that case I believe went, if not went down that path,
10   decided that to be constitutional, there should be some
11   probable cause hearing.
12                THE COURT:     So you think I have the authority to
13   simply say it's unconstitutional without a neutral
14   decision-maker making an assessment prior to the termination
15   of the sentence, and I don't have to invalidate the whole
16   statutory scheme?
17                MR. QUINLIVAN:      Well, if I could just take a step
18   back, I mean, I don't think that's necessary because what
19   we've pointed to is, in the Briggs case, the Supreme Court
20   summarily affirmed the case involving a 45-day civil
21   commitment period.      So I think that, you know, it was a
22   summary affirmance, but that still is something that the
23   lower courts are bound to look at.
24                THE COURT:     My problem with this scheme is, it's
25   so far beyond at least what used to happen in Massachusetts



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 1   where I was a state court judge, or almost anywhere else,
 2   because the people don't have to have any prior convictions
 3   for a sex offense.      There's nothing that's been found beyond
 4   a reasonable doubt that actually shows -- so this is
 5   actually one step beyond any of the other schemes.                 I know
 6   you know that.     And so you don't have the proxy of a
 7   conviction to give you some assurance that actually the
 8   person is dangerous, so you've got to -- what every case has
 9   said is, yes, civil commitment for dangerousness is
10   constitutional, assuming you have the correct procedural and
11   evidentiary standards.       I mean, it's said time and time
12   again.   So I'm worried that some of these people may just be
13   there on a cocaine thing, and take my extreme example,
14   someone has allegedly said something to some jailhouse rat,
15   and he announces it, and the Bureau of Prisons thinks that's
16   enough and holds him.       Does that seem fair to you?
17               MR. QUINLIVAN:       Well, I think that -- I mean,
18   putting aside, you know, I think that this statute has those
19   procedures, and if you're looking at -- I still go back to
20   you're looking at this in a facial context.             What we've had
21   in terms of these initial certifications is a situation in
22   which this statute was passed in July of 2006, so most of
23   the initial certifications occurred very soon or near the
24   person's release date.       The anticipation going forward is
25   that the Bureau of Prisons will be certifying people well in



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 1   advance of --
 2               THE COURT:     Well, is that part of these
 3   regulations?
 4               MR. QUINLIVAN:      No, it's not part of them.
 5               THE COURT:     That's what I was looking for.              So why
 6   not?
 7               MR. QUINLIVAN:      Well, the only time limit, and I
 8   think my sister is correct, the only time limit that's set
 9   forth in the statute is the 45-day and then the 30-day
10   period with respect to the mental examination.
11               THE COURT:     But the Department of Justice could as
12   a good government thing, not to mention the Constitution,
13   say, but it should be all certified in time for someone to
14   challenge it before sentence is over.
15               MR. QUINLIVAN:      I think that that is certainly a
16   possibility.    When the statute was first put into place and
17   the Bureau of Prisons was trying to enact this and looking
18   at the people who were going to be released, it was
19   impossible for that to be done with the initial
20   certifications.
21               THE COURT:     And I'll take your word for it because
22   they're all night and day, but now we have all these
23   regulations coming through to try and do it in a measured
24   and fair fashion, and that's not even part of it.              So it's
25   of some concern, it's of concern.         But let's assume I find



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 1   there should be a due process hearing before the loss of
 2   liberty, or soon, or within let's say five, ten days
 3   afterwards, can I just do that?
 4               MR. QUINLIVAN:       I don't think it's necessary, but
 5   to save the statute, if your Honor thinks that that's the
 6   only way to save the statute from a constitutional, yes, I
 7   think your Honor could do that, or your Honor on the burden
 8   of proof could sever the clear and convincing.
 9               THE COURT:      And do what?
10               MR. QUINLIVAN:       Well, if your Honor --
11               THE COURT:      All right, I'm pushing you.            That was
12   going to be Plan B.      So suppose I say that if you had
13   limited -- not you -- if Congress had limited the statutory
14   scheme to people who had been convicted of sex offenses, as
15   most of the state court statutes are, you might have one set
16   of concerns, but here anything triggers it, right?
17               MR. QUINLIVAN:       It does not have --
18               THE COURT:      Any evidence.      It doesn't have to be
19   even a charge.     It could just be something that someone said
20   in a prison or a probation officer heard or something like
21   that.   You know, a probation officer heard that maybe he
22   touched a niece or something like that, right, in an
23   inappropriate way?
24               MR. QUINLIVAN:       I don't think that one would be
25   certified under those circumstances under --



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 1                 THE COURT:    But suppose -- see --
 2                 MR. QUINLIVAN:     I would --
 3                 THE COURT:    No one wants a child to be hurt on
 4   their watch, so I've got to assume that Bureau of Prisons
 5   people feel this way.       So when in doubt, they're going to
 6   dump it to a federal judge, right?
 7                 MR. QUINLIVAN:     I don't think that's the case,
 8   your Honor.     I mean, in fact, although it's not a part of
 9   the record, I would note that, you know, there have been 53
10   certifications that have been made.           And I misspoke earlier
11   when I said that no one's been certified.            In fact no one's
12   been committed under the statute, but there have been 53
13   certifications.     This statute has been on the books since
14   July of 2006.
15                 Now, if one looks to see that the Bureau of
16   Prisons is looking whether or not anyone who is being
17   released into the community meets the standards set forth in
18   the statute and we have 53 certifications to date, I think
19   your Honor can take judicial notice of the fact that this --
20   it is far from the situation your Honor envisioned where the
21   BOP is simply passing the buck to the federal judiciary.                      I
22   think that given those statistics, one could make a fair
23   inference that it's been a very judicious application.
24                 THE COURT:    Of the 53, how many don't have
25   convictions for sex offenses?



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 1               MR. QUINLIVAN:      I don't have the answer off the
 2   top of my head.    I'm sorry, your Honor.
 3               THE COURT:     Are there any in my horror parade
 4   where there's no prior convictions for a sexually violent
 5   offense?
 6               MR. QUINLIVAN:      I'm not familiar with -- I think
 7   that there are a total of nine here in this district.                  The
 8   majority are in North Carolina.         I don't know the factual
 9   records of all 53.     I'd be happy to provide that information
10   to the Court.
11               THE COURT:     So if I were to say that there should
12   be proof beyond a reasonable doubt for any -- what I would
13   call the factual portion, not the -- in other words, I see
14   there are two kinds of findings that you have to make,
15   right?   One is whether or not they factually committed some
16   sort of sexually violent offense, and the second is more
17   predictive, which is, are they likely to hurt someone, or
18   are they likely to be dangerous in the future?            So if I were
19   to say that that should be a higher standard, once again,
20   you would say I can just do that rather than declare the
21   whole statute unconstitutional, is that right?
22               MR. QUINLIVAN:      I think that your Honor could
23   sever the part of the statute that provides for a clear and
24   convincing standard.
25               THE COURT:     But once you sever it, I mean, it then



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 1   provides for nothing.
 2               MR. QUINLIVAN:      Well, your Honor would --
 3               THE COURT:     Then rewrite it essentially is what
 4   you're saying I should do.
 5               MR. QUINLIVAN:      Well, no.     I think your Honor
 6   can -- the statute would be severed with respect to that
 7   particular aspect.     I would note -- and just I don't want to
 8   necessarily move off your Honor's point, but I would note
 9   that from our perspective, the Supreme Court's decision in
10   Addington suggests that one doesn't actually bifurcate the
11   differing levels, that actually you look at what the
12   standard of proof is as a whole.         And in fact, even in
13   Addington, the Court suggested that there may be some
14   preliminary factual determinations, and yet ultimately the
15   clear and convincing standard was held to be appropriate,
16   because you do have -- it's application of what is
17   inherently not a factual situation, the determination of,
18   you know --
19               THE COURT:     I forget, was Addington the acquitees,
20   or were they the incompetent ones?
21               MR. QUINLIVAN:      I'm sorry, that was for the
22   incompetent, that's right.
23               THE COURT:     So those were the ones where they had
24   been indicted for some sort of crime and found incompetent,
25   and so a lower court would have had to have found that they



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 1   actually committed the crime or not?          I don't remember.
 2               MR. QUINLIVAN:      I don't think that's exactly how
 3   the statute worked.
 4               THE COURT:     All right.
 5               MR. QUINLIVAN:      It was a civil commitment statute,
 6   and in fact what the majority of courts have held following
 7   Addington -- and this is really the point of departure --
 8   is, you have these sort of two lines of authority, and post-
 9   Addington the courts have found that the clear and
10   convincing statute is appropriate.         And I would note that
11   even Judge Britt in his opinion in reaching a contrary
12   conclusion cited to a Seventh Circuit decision, which we
13   note in our brief is a pre-Addington decision.
14               THE COURT:     That was early '70s or '80s?
15               MR. QUINLIVAN:      That's right, that's right.              But
16   just on the procedure of -- because I do think -- I know
17   your Honor is concerned about that, and I would just make
18   two points.   When we were before you, and I believe it was
19   in January or February when we were first setting up the
20   schedule, we made clear that the only -- we were willing to,
21   you know, brief the facial constitutional challenge, that
22   our only caveat was, we did not want this period to be
23   counted against us in any way or held that we had waived any
24   procedural due process protection.         It was my understanding
25   as well that the respondents affirmatively argued that they



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 1   did not want to go forward with any hearing till these --
 2   now, I think they absolutely have the right to change that
 3   position.
 4               THE COURT:     It just has been a very long time.
 5               MR. QUINLIVAN:      It has, and I'm not -- you know, I
 6   think it absolutely has, but it has primarily because of the
 7   litigation position which the respondents chose to take,
 8   which was to make a broad facial challenge to the statute.
 9   And I believe that they have every right to change their
10   position and at this point say, "We want to go forward with
11   the hearing," absolutely, but --
12               THE COURT:     But I think there are two kinds of
13   hearings we're talking about.        One is just some decision by
14   some neutral decision-maker that there's enough to hold the
15   person, and the second would be -- maybe you call it a
16   hearing, but I envision it looking like a full-blown trial.
17   Why wouldn't someone?      I mean, it's almost determined an
18   indefinite detention, right?
19               MR. QUINLIVAN:      With the exception that a jury
20   would not be constitutionally required.
21               THE COURT:     But would it be permitted; in other
22   words, if a court wanted a jury?
23               MR. QUINLIVAN:      I haven't thought about that
24   question.   I think your Honor is -- I can see your Honor
25   channeling Judge Young.      I can see that.       I should have



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 1   thought of that question because I'm sure he would have
 2   presented that as well.
 3               THE COURT:     Don't forget, the state courts here in
 4   Massachusetts have a right to a jury trial.
 5               MR. QUINLIVAN:      That's right.
 6               THE COURT:     I can't remember if it's by statute or
 7   by state constitution, but that's the way it's done in our
 8   state.
 9               MR. QUINLIVAN:      That's right.      I don't think it's
10   required.   Whether if a court wanted to go forward with one,
11   I don't have an answer.      Certainly it's not provided for in
12   the statute.    In our view, it's not constitutionally
13   required.
14               THE COURT:     Well, assume every judge so far has
15   basically said it's civil because it says it's civil, even
16   though it has a lot of stigma and certainly penalties in the
17   sense of they're in jail.       "Penalties" may be the wrong
18   word.    It has certainly a huge restriction on liberty.                 But
19   just because you call it civil, I think Winship makes clear
20   you can still make it proof beyond a reasonable doubt,
21   right?
22               MR. QUINLIVAN:      That's right.
23               THE COURT:     All right.     And once it's proof beyond
24   a reasonable doubt, does that then trigger a right to a jury
25   trial?



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 1               MR. QUINLIVAN:      No, I don't think it does.             I
 2   think that what's constitutionally required is set forth in
 3   the Seventh Amendment, and this is not considered one of the
 4   proceedings, and this would not be the kind of proceeding in
 5   equity that historically has been held to require a jury
 6   trial.   So I would start with that premise.           But, again,
 7   when even in your Honor's invocation of Winship, I note that
 8   Winship is pre-Addington, and we submit that Addington is
 9   the correct point of departure for determining the burden of
10   proof in this instance.
11               THE COURT:     What's alluding me is exactly -- there
12   were some procedural protections in Addington that didn't
13   happen here, and I can't remember exactly what they were.
14               MR. QUINLIVAN:      If I could just address briefly,
15   your Honor did raise the question of the civil versus
16   criminal, and I would point out that it seems -- my
17   understanding is that a lot of the argument that's been made
18   is that, you know, it's been placed in 18 U.S.C.             I don't
19   think that's much of an argument for two points.             First off,
20   the provisions which surround this are all civil provisions,
21   and in addition --
22               THE COURT:     But I don't have to decide that
23   because you can require proof beyond a reasonable doubt in a
24   civil proceeding.
25               MR. QUINLIVAN:      Oh, that's right.       I -- that's



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 1   right.
 2               THE COURT:      It matters for them for ex post facto
 3   and that sort of thing.
 4               MR. QUINLIVAN:       That's right.
 5               THE COURT:      But for me, I keep coming back to
 6   every single Supreme Court case where the justices say, we
 7   think it's appropriate in a civil commitment proceeding but
 8   only if you have adequate levels of procedural and
 9   evidentiary protections because of how severe the restraint
10   on liberty is.     And that's what I'm struggling with here.
11               MR. QUINLIVAN:       And I would submit that, again, I
12   think that the debate that we have on the standard is
13   whether we're talking about Winship or Addington being the
14   point of departure, and I think it is Addington, and I think
15   that what Judge Britt was focused on was -- again, he almost
16   bifurcated the analysis and said that, you know, you would
17   have to have reasonable doubt for the preliminary
18   determination, regardless of whether when you then get into
19   the determination of and mental evaluations, that might
20   suggest, per Addington, that it is something that can't be
21   beyond a reasonable doubt.
22               THE COURT:      Is it true, as the other side argues,
23   that this is the only statute in the United States among all
24   these that doesn't require first a conviction for a sex
25   offense?



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 1               MR. QUINLIVAN:       I'm not sure.      I can't point your
 2   Honor to any other state that --
 3               THE COURT:      That's what you say, right?            This is
 4   the only one that doesn't piggyback off of a criminal
 5   conviction for a sex offender?
 6               MS. MIZNER:      The only statute in what sense, your
 7   Honor?
 8               THE COURT:      A sexually dangerous commitment
 9   statute that doesn't first have a predicate of a conviction
10   for a sexually dangerous defendant?
11               MS. MIZNER:      Well, this is the only federal --
12               THE COURT:      No, I'm talking about if you look at
13   the state statutes.
14               MS. MIZNER:      I believe that's true.
15               MR. QUINLIVAN:       I think that there are a few, and
16   I have been informed both North Dakota and Illinois also,
17   and I'd be happy to provide some additional information.
18               THE COURT:      So you don't have to be there pending
19   a charge on sexually dangerous?
20               MR. QUINLIVAN:       That's right.
21               THE COURT:      All right.     So do you want to address
22   necessary and proper?
23               MR. QUINLIVAN:       Certainly, certainly, and let me
24   make two arguments with respect to that because I begin
25   with, again, one of the categories of people who are subject



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 1   to certification is very much akin to what the Supreme Court
 2   upheld in Greenwood, in the sense that what the Supreme
 3   Court said in Greenwood is, when you have somebody who the
 4   government's power to prosecute has not yet been exhausted,
 5   the government has the necessary and proper authority to
 6   hold that person.     And while it may be true that the
 7   majority of the people who have been certified to date are
 8   people who are in BOP custody rather than people who under
 9   4241(d) have been determined to be mentally incompetent to
10   stand trial, that is one of the categories of people who can
11   be certified under the statute.         So we would submit that
12   again applying the Salerno test, that is in itself
13   sufficient to defeat the facial challenge.
14               More broadly, I would point out, your Honor,
15   that --
16               THE COURT:     So you're saying Salerno doesn't allow
17   you to do a facial challenge if one large portion of the
18   people who are being affected would be affected across the
19   board?
20               MR. QUINLIVAN:      Absolutely, and the two exceptions
21   being --
22               THE COURT:     By category, I mean --
23               MR. QUINLIVAN:      That's right, that's right, and
24   the two exceptions that the Supreme Court has announced that
25   has expressly held where Salerno doesn't apply, or



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 1   implicitly has said that Salerno doesn't apply, is either
 2   the First Amendment context or the abortion context.                   And in
 3   fact there was a debate between Justice Stevens and
 4   Justice Scalia in the ADA case arising from Hawaii several
 5   years ago where Justice Scalia was arguing that the Salerno
 6   test should apply in the abortion context, and
 7   Justice Stevens was arguing that the Salerno test should not
 8   apply at all.
 9               We're not dealing with either of those situations
10   here, and I think Judge Tauro correctly noted that that's
11   why it doesn't apply here.        And even if there's some doubt,
12   what the Supreme Court has repeatedly said, and I cite the
13   Agostini V. Felton case, is that if a Supreme Court
14   authority stands and yet somebody argues, "Well, subsequent
15   a Supreme Court authority has called that into question,"
16   you leave it to the Supreme Court to overrule its prior
17   authorities.
18               THE COURT:      So going back to Goldberg V. Kelly,
19   the old procedural due process nugget, so you would argue
20   you could never have a facial challenge to a statute that
21   permitted you to take away something that was protected
22   without a hearing simply because an agency might on its own
23   decide not to do it that way?
24               MR. QUINLIVAN:       I think that's right.         I mean, I
25   think that's why facial challenges are disfavored.                 I mean,



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 1   I think you want to have -- courts generally want to have a
 2   concrete set of facts before them before making those kinds
 3   of weighty constitutional determinations.
 4                THE COURT:    Could I say, across the board, it is
 5   unconstitutional to keep someone past his prison term unless
 6   a neutral fact-finder has found within a relatively brief
 7   amount of time, whatever you want to call that, that there's
 8   probable cause to believe they're sex offenders?
 9                MR. QUINLIVAN:     Well, I don't think your Honor --
10   I would argue that your Honor should not so hold because in
11   a facial challenge, we know there can be situations where
12   that determination can be made prior to any period your
13   Honor could determine.      I think that you do --
14                THE COURT:    Although in fact it never has, right,
15   of the 53?
16                MR. QUINLIVAN:     That's right because, quite
17   frankly, in almost all of these cases, we're sort of in the
18   same procedural posture we are with this Court, which is,
19   it's been decided largely from the respondent's side that
20   they want to go forward with the constitutional challenges
21   first.
22                THE COURT:    Now, on the treatment end, can you
23   make a proffer one way or another whether or not Devens
24   plans to treat these people?
25                MR. QUINLIVAN:     I can't make a proffer.          All I can



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 1   say is that the statute itself makes two provisions.                 One is
 2   that, as your Honor noted it, it says that an attempt will
 3   be made to have the states take these people, which I think
 4   is something that should be taken into account with respect
 5   to the federalism issue.       And then I would just note that,
 6   again, we don't have a situation where anyone in fact has
 7   been committed.
 8               THE COURT:     Can I play this out?        So let's say the
 9   states took them.     Who then has the obligation to review the
10   commitment?
11               MR. QUINLIVAN:      Well, I think ultimately it would
12   be -- you would still be in a situation where they've been
13   committed by a Federal Court, and the Federal Court would
14   have the obligation to review it.
15               THE COURT:     And there's no periodic review, right?
16   How does that review process go after the fact?             The inmates
17   or the petitioner can't petition more frequently than every
18   six months or something like that, right?           How does the
19   review process go at the back end?
20               MR. QUINLIVAN:      It's every year there are periodic
21   reports, and the respondent can petition at any time.
22               THE COURT:     So you would envision -- like, say,
23   Bridgewater is our state facility -- you would envision what
24   would happen here is, if Bridgewater took these people,
25   Bridgewater would send me a report every year or would send



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 1   the Bureau of Prisons a report every year?
 2               MR. QUINLIVAN:      I think it would be the Bureau of
 3   Prisons would be sending a report, but they obviously would
 4   be consulting with the people --
 5               THE COURT:     And that's it, so it would just be a
 6   report.   There wouldn't be actually a hearing?
 7               MR. QUINLIVAN:      Well, I think that's all that's
 8   required, but, again, at any time the respondent has the
 9   ability to ask for a hearing.
10               THE COURT:     In one of the statutes that went to
11   the Supreme Court, the court actually had to make a finding
12   year by year, and I think that's not here, right?
13               MR. QUINLIVAN:      That's not here.       I would say just
14   in response to my sister's argument about -- I think, you
15   know, we pointed out on the Tenth Amendment that private
16   individuals have no standing to make a Tenth Amendment
17   claim.    But I think there is one point where the Tenth
18   Amendment would come into play, and that was the suggestion
19   that somehow the federal government should, you know, force
20   the states to take these people if the federal government
21   has a concern.    That's where you would have a federal
22   commandeering.    I mean, the federal government, we can
23   petition, we can request the states.          Your Honor knows I
24   have another matter in front of your Honor where that very
25   issue is going forward, but the federal government can't



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 1   force the states.
 2               THE COURT:     What is that?      Which one?
 3               MR. QUINLIVAN:      It's the Mr. Phelps matter trying
 4   to get him into the Vermont facility.
 5               THE COURT:     Oh, Phelps.
 6               MR. QUINLIVAN:      So it presents -- and I just use
 7   that as an example, but that's a situation in which the
 8   Bureau of Prisons is trying to have a state facility take
 9   custody, and it's something that the Bureau of Prisons can
10   request but ultimately can't force the state.
11               THE COURT:     So that's a good example.         Suppose you
12   were to not get a state to agree to it.           Why should they
13   after all, it costs them money?         So would Fort Devens be
14   providing treatment?
15               MR. QUINLIVAN:      Fort Devens, in those situations,
16   yes, it would have to be the Federal Medical Center that
17   would be providing treatment.
18               THE COURT:     So is it the federal government's
19   representation that there would be treatment?
20               MR. QUINLIVAN:      Yes.    Now, I can't represent to
21   the Court what that treatment will be.
22               THE COURT:     Are there plans or is it in the
23   regulations to come up with a game plan for treatment?
24               MR. QUINLIVAN:      Your Honor, if I could have just
25   one moment.



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 1               (Pause.)
 2               MR. QUINLIVAN:      Your Honor, Ms. Hong is actually
 3   much more familiar with this particular aspect.
 4               THE COURT:     I would be delighted to hear from her.
 5               MS. HONG:     Good afternoon, your Honor.          With
 6   regard to treatment, the statute actually provides that a
 7   person may be discharged if they are no longer sexually
 8   dangerous, one, or, second, if on a prescribed regimen of
 9   medication or treatment the person would no longer be
10   sexually dangerous.     The statute contemplates that if a
11   person can get better with treatment, that they shall be
12   released.   That implicitly suggests, and you may infer from
13   that, that treatment would be provided to persons who --
14               THE COURT:     Do you work with Justice now?
15               MS. HONG:     I work in Main Justice in the Civil
16   Division in federal program regs, your Honor.
17               THE COURT:     So are you working with the Bureau of
18   Prisons to develop such a treatment program?
19               MS. HONG:     I'm not part of the Bureau of Prisons.
20   I've been working with Bureau of Prisons to understand the
21   sort of statutory scheme and regulations that they have in
22   place.
23               THE COURT:     Are there any plans to create that
24   kind of a --
25               MS. HONG:     You know, I don't know that there are



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 1   federal regulations that are being proposed right now.                   The
 2   Bureau of Prisons is taking it one step at a time.               The
 3   first fed regs that were issued in the NPRM in August --
 4               THE COURT:     Somebody here wants to talk to you
 5   very badly.
 6               (Discussion off the record.)
 7               THE COURT:     You know what, I think this might be
 8   better done through a letter afterwards or something like
 9   that.
10               MR. QUINLIVAN:      Yes, certainly, your Honor.
11               THE COURT:     Do you want to respond at all?
12               MS. MIZNER:     Sure.    In terms of the defendant's or
13   the committee's right to seek release, he can or she can
14   request a hearing to determine whether the person shall be
15   discharged, but not within six months of a court
16   determination that the commitment shall continue, and there
17   is no rights to an annual hearing as there is in connection
18   with other statutes.      There's a report, that's it.           If the
19   court then continues the commitment, the person cannot seek
20   release within six months of that date under the statute,
21   under 4247.
22               THE COURT:     Is that unusual among the state
23   statutes?
24               MS. MIZNER:     I believe so, your Honor.          I don't
25   have a listing of all of the state release procedures.                   I've



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 1   got a compilation of which require beyond a reasonable doubt
 2   which require jury trials, but I can get that information.
 3               THE COURT:     Your brother represented that
 4   North Dakota and Illinois don't first require a conviction
 5   for a sex offense to trigger the commitment statute.                 Do you
 6   know one way or another?
 7               MS. MIZNER:     I will check that.       Illinois does
 8   require proof beyond a reasonable doubt.           North Dakota does
 9   require a probable cause hearing.         I'm not sure whether or
10   not -- I will check that.
11               THE COURT:     All right, is there anything else that
12   you wanted to respond to?       The briefing was so outstanding
13   that it's hard to believe --
14               MS. MIZNER:     Well, I have the Federal Register
15   citation for the Court.      It's 72 Federal Register at 43205.
16               And in terms of Addington, I would note that we're
17   talking there about a state civil commitment statute, and in
18   Addington, the Texas statute did provide for a trial by
19   jury.   And the court in upholding the clear and convincing
20   standard talked a lot about the state's interest and
21   responsibility in parens patriae as opposed, I would argue,
22   distinguishable from the federal interest which is much more
23   limited.   They're talking about the state's interest.
24               They also note the stigma attached and the severe
25   restriction on liberty, but I think part of the basis for



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 1   the decision in Addington is the nature of the decision that
 2   is being made.        The court said that "How can you make this
 3   predictive finding beyond a reasonable doubt?" which I think
 4   is one of the problems with this whole area in terms of the
 5   predictive findings, which raises the issue that was not
 6   addressed, it was not raised, I don't believe, in the
 7   North Carolina proceedings, and --
 8                  THE COURT:      So this is the psychiatrist who said
 9   it's impossible?
10                  MS. MIZNER:      Right.
11                  THE COURT:      You're raising it, and you preserved
12   it.
13                  MS. MIZNER:      Okay.
14                  THE COURT:      The issue is, really, Congress has
15   found and the Supreme Court has found and basically every
16   court has said that you can make certain predictions; and
17   while psychiatry isn't perfect, it doesn't mean you have to
18   release everybody.
19                  MS. MIZNER:      Sure, and a lot of those were
20   pre-Daubert, and we're saying that Daubert set certain
21   gatekeeping standards for the kinds of evidence that --
22                  THE COURT:      Now, that's what I think needs to be
23   done in this case by case.
24                  MS. MIZNER:      -- that the court can hear.             The
25   purpose of this was to raise before the Court Dr. Kriegman's



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 1   position that there is no set of circumstances under which
 2   the evidence can meet the Daubert standard.            Therefore, that
 3   would make it a facial challenge.         And in terms of the
 4   facial challenge --
 5               THE COURT:     That's essentially invalidating
 6   Congress' finding that you can make that prediction.
 7               MS. MIZNER:     Saying that the state of the science
 8   at this particular point in time is such that it cannot meet
 9   the standard that Congress set.         Congress set a standard,
10   said that you have to establish by clear and convincing
11   evidence that this is a danger.
12               THE COURT:     Suppose -- go back to my parade of
13   horribles -- you have a guy who's got two or three prior
14   convictions for touching, and he's told somebody that he
15   can't control himself in a credible way, a staff
16   psychiatrist, somebody, or a probation officer.             Why can't
17   you say that's enough for clear and convincing?
18               MS. MIZNER:     Well, that's an admission.           If you're
19   saying that that's an admission by the person, that's
20   different from -- that's a different kind of evidence from
21   someone saying, "I'm giving someone the Static-99, and I am
22   concluding from that that this person poses a future
23   danger."
24               THE COURT:     So eliminate the admission.           Some
25   person has raped a little girl four times, a different



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 1   little girl each time he gets out.          You can make predictive
 2   forces about that.
 3               MS. MIZNER:      Well, I suppose that would also
 4   depend on what kind of treatment was provided and how you
 5   view the efficacy of any treatment that was provided during
 6   the last one.
 7               THE COURT:      I'm just simply saying -- you've made
 8   the point -- I'm not likely to go off that way, but I am
 9   definitely going to think about these other issues.                  But let
10   me just simply say this:       I am worried that this is taking
11   so long and I've got these three individuals.             I have no
12   idea what their backgrounds are.          I have no idea if probable
13   cause would be a slam dunk for the government or whether it
14   wouldn't be.    I have no idea what a probable cause hearing
15   would even look like other than it's got to be either by me
16   or a magistrate judge or somebody who will look at it.                    I
17   think under the statute, I don't see any reason why a
18   magistrate judge couldn't be the one.           They're the ones who
19   make the preliminary bail hearings as well as the
20   preliminary findings on a probation revocation, so I see no
21   reason why constitutionally, for a probable cause kind of
22   hearing, it couldn't be a magistrate judge.             But most
23   importantly, I just want to know if you want it, so that
24   while this is being briefed and written by me and resolved
25   by the First Circuit, maybe the Supreme Court, these people



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 1   aren't just sitting there, if there's not enough to even
 2   hold the probable cause.       Or, for that matter, I wondered
 3   whether you'd have a whole hearing subject to your
 4   constitutional challenges, and then you could challenge it
 5   all as it was all going up to the appellate systems.                 I
 6   mean, my guess is, there's going to be a First Circuit
 7   ruling and a Fourth Circuit ruling and at some point maybe a
 8   Supreme Court ruling.      I mean, I've just got to assume that
 9   that's true, right?     That at least the two circuits will
10   rule.   And so if there's a split in that, I imagine there
11   will be a Supreme Court ruling.         So I just don't want while
12   all this is happening their rights not to be respected.
13   Maybe they won't be found by even the clear and convincing
14   standard to be posing a threat.         So would you please think
15   about that because we can do this on a double track.
16               MR. FICK:     I think that's right.        Now that the
17   briefing at least of these big issues, so to speak, is done,
18   I think we would like to proceed, at least begin to proceed
19   to actual hearings.     Whether we do it in two steps with a
20   probable cause hearing immediately or in a very short time
21   followed by a big hearing, or whether we go straight to the
22   big hearing, we need to sit down and talk about that with
23   our clients and among ourselves.
24               THE COURT:     Are they all my cases, or did I take a
25   couple of others?     Do you remember?



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 1                MS. KELLEY:    This is all the cases you have as far
 2   as I know.
 3                THE COURT:    I took them as MBDs, and one
 4   apparently got drawn to Judge Tauro, and I don't know if
 5   there are others out there and what's happening to them.
 6                MS. KELLEY:    Judge Tauro has two, Judge Wolf has
 7   one, Judge O'Toole has one.        We're filing essentially an
 8   identical motion, the constitutional challenging each of the
 9   cases.   But if I may, your Honor, we would very much like to
10   proceed to the hearings, and, of course, I have to speak
11   with the clients further about this.          And to that end, we
12   have exchanged some limited discovery letters.            We expect to
13   file a final letter with the government within the next,
14   say, two weeks.    When we get their response, I think we're
15   going to just come to the Court then with any disputes we
16   have, and we will then be ready to begin the process of
17   getting to the individual hearings, which, as your Honor
18   noted, we are imagining will be like bench trials.
19                THE COURT:    Well, why don't I hold, for want of a
20   better word, a status hearing in two weeks.            Does that make
21   some sense?   And you can talk with your clients.            You, the
22   government, can figure out what you want to do.             Have any of
23   these actually gone through a commitment proceeding yet?
24                MS. HONG:    Not yet, your Honor.
25                MR. QUINLIVAN:     No.



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 1               MS. HONG:     They're all in the same procedural
 2   postures.
 3               THE COURT:     My goal will be to set a date for
 4   either a probable cause hearing or the final hearing, or
 5   both, and we can talk about what that would look like
 6   procedurally while I'm doing this piece of it.
 7               MS. KELLEY:     Well, one thing we would be asking
 8   the Court to do, I think, at this next date is to appoint
 9   the expert as the statute requires, and then we do have this
10   70-day or 75-day clock running for the expert.            I mean, as
11   we all know --
12               THE COURT:     Now you're behind.       Just give me a
13   proposed order and I'll -- who do you want?            Do you have
14   somebody?
15               MS. KELLEY:     Well, we've already been discussing
16   that with the government, and we will have an order ready
17   for you shortly.
18               THE COURT:     If you agree, I agree.
19               MS. KELLEY:     Great.
20               THE COURT:     If you don't, I'll deal with it in two
21   weeks.   Does that seem fair to you?
22               MS. KELLEY:     Yes.    I mean, just, also, we really
23   appreciate the Court's concern over the time period here.
24   Everything Mr. Quinlivan said about our concessions about
25   the probable cause, et cetera, are completely accurate.                   But



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 1   the clients, as your Honor is intuiting, are really wanting
 2   to get to their hearings now.         So we're prepared for that,
 3   and I think a two-week status date is a wonderful idea.
 4               THE COURT:      Okay, so my plan is, nobody's waiving
 5   anything.   We're going to be on two tracks here.              One is
 6   resolving these individual people's problem, and the second
 7   is handling the facial challenges to the statute and the
 8   standards of proof and the like.          And I may make certain
 9   judgments in the course of individual hearings, and
10   obviously one side or the other will object, and then the
11   whole thing can go up on a record too.           So we're just going
12   to jump start this at this point, and I think that's in
13   everyone's interest.      Are they all local at this point
14   still?   They're not down in North Carolina, right?                They're
15   all in Devens?
16               MS. MIZNER:      That's correct, your Honor.
17               MS. KELLEY:      All of the people who were certified
18   in this district are being held in Devens.            There's nobody
19   out of district.
20               THE COURT:      Good.   So two weeks.       Robert, when
21   should we do it?
22               THE CLERK:      October 1 at 3:00 p.m.
23               THE COURT:      And, now, 75 days, I'm sure I had a
24   resonance of people because it probably sounded like a
25   Speedy Trial Act.     So my thought would be that we would be



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 1   trying it before year end.       Now, can I do three of them?               I
 2   don't know.   I don't know.      I've got to assume you don't
 3   want to do them all together.
 4               MS. KELLEY:     Well, we have several other issues to
 5   litigate prior to the hearings; for example, the use of
 6   their treatment records.       It's my understanding the
 7   discovery is not yet complete, but the men who were in the
 8   treatment center at Butner signed release forms before the
 9   SDP law was in effect, so they had no idea the release form
10   they were signing was going to be used -- the records were
11   then going to be used to commit them for life.            So we're
12   going to be challenging the introduction of some of their
13   records at the hearings and so on.         And there's also issues.
14   Mr. Wetmore was interviewed and made some admissions to the
15   people who interviewed him as part of the certification
16   process.   He asked for a lawyer, which was denied, so we're
17   going to need to litigate that, although if the process is
18   not criminal, that may be a short part of the litigation.
19   But, at any rate, we do have some --
20               THE COURT:     You need to preserve everything.
21               MS. KELLEY:     Yes, yes.
22               THE COURT:     But even once we get past all that,
23   the issue is also, from the government's point of view,
24   whether I should -- if there's anything objectionable to
25   doing an advisory jury or whether I should do it myself.



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 1   These were the most hated parts of state court jurisdiction,
 2   let me just say it.     It's a very difficult thing to make
 3   predictions, and it might be useful to have an advisory
 4   jury, but I'm not sure whether, A, I can, or, B, I will.                    So
 5   let's just think about all these issues as we go through it.
 6               MR. FICK:     Your Honor, I'm sorry to jump
 7   backwards, but I wanted to answer a question you asked
 8   earlier, and that was, had there been any commitments of
 9   people who had no touching offenses?          And one of my clients
10   in front of Judge O'Toole has predicates of only interstate
11   travel to meet a cop and child pornography.            So to answer
12   the question, yes, we know of at least one case in which
13   there was no touching offense.
14               THE COURT:     Thank you.     My guess is, there was a
15   transcript there that was hurtful to your client, right,
16   what he wanted to do?
17               MR. FICK:     At this point, frankly, I don't know.
18   Yes, there was certainly an Internet talk between these
19   people; but, you know, talk is cheap, and it's not a
20   touching offense, so that's what the bottom line is.
21               THE COURT:     Thank you.     That's useful to know.
22   Anything else?
23               MS. MIZNER:     I'd just like to submit a letter or a
24   short memo to the Court addressing some of the questions on
25   severability, jury trial, and --



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 1               THE COURT:     Yes, that's the one that just -- I
 2   don't do that many of these, and so obviously the one thing
 3   the Supreme Court keeps insisting on is appropriate
 4   procedural and evidentiary mechanisms.          And I don't know if
 5   I say, "Well, this isn't good, this isn't good."             Can I just
 6   do my little checklist and just say "Do it"?            Or do I say to
 7   the Justice Department/BOP, "Do it," by regulation or by
 8   fiat?   Or do I have to say to Congress, "This isn't good
 9   enough, and it goes to the heart of what you're doing, and
10   therefore the whole statute is unconstitutional"?              That's
11   the piece that I'm worrying about, and I don't know what the
12   answer is, and I don't get this that often, thank goodness.
13               MS. MIZNER:     We'll try to address that.
14               MR. QUINLIVAN:      And we will as well, your Honor.
15               THE COURT:     Thank you.     That would be very useful.
16   I think the last time I had something like this it was the
17   Dairy Compact, so it was a little more complex.             Anyway,
18   thank you very much.
19               THE COURT:     Can you do that like within a week?
20               MS. MIZNER:     Yes, your Honor.
21               MR. QUINLIVAN:      Yes.
22               THE COURT:     And if you need a few more days, just
23   let us know.
24               MR. QUINLIVAN:      Certainly.
25               (Adjourned, 4:30 p.m.)



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 1                            C E R T I F I C A T E
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 3
     UNITED STATES DISTRICT COURT )
 4   DISTRICT OF MASSACHUSETTS    ) ss.
     CITY OF BOSTON               )
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 6

 7             I, Lee A. Marzilli, Official Court Reporter, do
 8   hereby certify that the foregoing transcript, Pages 1
 9   through 61 inclusive, was recorded by me stenographically at
10   the time and place aforesaid in MC No. 06-10427, United States
11   of America V. Jeffrey Shields, and thereafter by me reduced
12   to typewriting and is a true and accurate record of the
13   proceedings.
14               In witness whereof I have hereunto set my hand
15   this 12th day of May, 2009.
16

17

18

19

20
                      /s/ Lee A. Marzilli
21                    __________________________________
                      LEE A. MARZILLI, RPR, CRR
22                    OFFICIAL COURT REPORTER
23

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